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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


  In re Ex Parte Application of Clara Moussa
  Boustany for an Order Pursuant to 28 U.S.C.                  Misc. Action No. 24-MC-91065-AK
  § 1782 Granting Leave to Obtain Discovery
  for Use in a Foreign Proceeding


MEMORANDUM AND ORDER ON JOINT MOTION REQUESTING ENTRY OF ONE
       OF TWO COMPETING PROPOSED PROTECTIVE ORDERS

ANGEL KELLEY, D.J.

       On August 5, 2024, the Court granted Petitioner Clara Moussa Boustany (“Moussa

Boustany”) permission to seek discovery from Respondent President and Fellows of Harvard

College (“Harvard”) for use in a foreign divorce proceeding. [Dkt. 25]. The Court instructed the

parties to submit a joint proposed protective order by September 3, 2024. [Id. at 7]. On that

date, Moussa Boustany, Harvard, and Fadi Boustany (“Boustany”) filed a joint motion to resolve

a dispute regarding the redaction of financial account and routing numbers that Harvard may

produce. [Dkt. 27].

       Boustany relies on Federal Rule of Civil Procedure 5.2 (“Rule 5.2”), which addresses

privacy and security concerns related to public access to court filings, whether paper or

electronic. Under Rule 5.2, court filings should not include an individual’s full social security

number, full birth date, full name of a minor, or complete financial account number. See Fed. R.

Civ. P. 5.2. Instead, only the last four digits of a social security number, the year of birth, a

minor’s initials, and the last four digits of a financial account number may be included. Id.

Limited exemptions exist, as outlined in Rule 5.2(b)(1)-(6), covering records from administrative

or agency proceedings, financial account numbers related to forfeiture proceedings, records from



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state-court proceedings, court records not subject to redaction when originally filed, filings under

Rule 5.2(c) or (d), and certain pro se filings.

       Moussa Boustany seeks full access to financial account information to “uncover

[Boustany]’s assets” in connection with the divorce proceedings before the Monégasque court.

[Dkt. 27 at 3]. Conversely, Boustany requests that all financial account numbers of parties and

non-parties be redacted, displaying only the last four digits. [Id. at 5]. While Moussa Boustany

does not object to the redaction of passwords and social security numbers, she opposes redacting

account and routing numbers, asserting that the Court’s prior ruling entitles her to access this

information, which is critical for uncovering Boustany’s assets for the divorce proceedings. [Id.

at 2-3]. She proposed limiting access to the full account information to her lawyers and the

Monégasque court; however, Boustany rejected this offer. [Id. at 4]. Boustany contends that

previous leaks of his personal information necessitate redacting full account numbers to their last

four digits. [Id. at 3, 5]. Both parties submitted their respective proposed protective orders. [See

Dkts. 27-1; 27-2]. The Court finds that while financial account numbers are typically redacted to

their last four digits for filings with the court in accordance with Rule 5.2, there is a distinction

between disclosure between parties during discovery.

       Consequently, this Court ADOPTS the Stipulation and Confidentiality Order as provided

at Dkt. 27-1. If any document containing a financial account or routing number is filed in the

Monégasque court, the parties must comply with the rules and orders of that court. Should any

subsequent filing containing a financial account or routing number occur in this district, it must

adhere to the protective order to be entered by this Court and Rule 5.2. This approach balances

the public’s presumptive right of access to judicial documents with Boustany’s privacy concerns.




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This Order does not diminish the necessity for protective measures and the parties are reminded

of their obligation to remain vigilant in controlling access to the disclosed information.

       SO ORDERED.

Dated: November 25, 2024                                      /s/ Angel Kelley

                                                              Hon. Angel Kelley
                                                              United States District Judge




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